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				IN RE APPROVAL OF UNIFORM DELINQUENT ADJUDICATION ORDER/ADDENDUM2017 OK 18Case Number: 2017-21Decided: 03/06/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 18, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



In re: Approval of Uniform Delinquent Adjudication Order/Addendum




ORDER


¶1 The Court has reviewed the recommendation of the Oklahoma Supreme Court Juvenile Justice Oversight and Advisory Committee and hereby adopts the attached order and addendum for adjudication of delinquent petition(s) effective May 1, 2017.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 6th day of March, 2017.


/S/CHIEF JUSTICE



Combs, C.J., Gurich, V.C.J., Kauger, Watt, Winchester, Edmondson, Colbert and Reif, JJ., concur;

Wyrick, J., not present and not participating




Uniform Delinquent Adjudication Order and Addendum Forms





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